                  IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-215

                                       No. COA20-241

                                     Filed 18 May 2021

     Cumberland County, No. 18 CRS 53257

     STATE OF NORTH CAROLINA

                 v.

     WILLIE PEARL MACK, JR.


           Appeal by Defendant from Judgments and Orders entered 5 August 2019 by

     Judge Jeffery K. Carpenter in Cumberland County Superior Court. Heard in the

     Court of Appeals 10 March 2021.


           Attorney General Joshua H. Stein, by Special Deputy Attorney General Anne J.
           Brown, for the State.

           Appellate Defender Glenn Gerding, by Assistant Appellate Defender Wyatt
           Orsbon, for defendant-appellant.


           HAMPSON, Judge.


                          Factual and Procedural Background

¶1         Willie Pearl Mack, Jr. (Defendant) appeals from Judgments entered upon jury

     verdicts finding him guilty of Second-Degree Rape (under former N.C. Gen. Stat. §

     14-27.3) and Second-Degree Sexual Offense (under former N.C. Gen. Stat. § 14-27.5).

     Additionally, Defendant seeks a Writ of Certiorari from this Court to review Orders

     requiring Defendant to register as a sex offender and to enroll in satellite-based
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     monitoring for the rest of Defendant’s life. The Record, including evidence adduced

     at trial, tends to reflect the following:

¶2          Tamara1, the alleged victim in this case, moved to Fayetteville, North Carolina

     from Washington, DC in 2011. On the night of 2 August 2011, Tamara was in a park

     in downtown Fayetteville “doing drugs” with “a couple of homeless people[.]” At some

     point, Tamara decided to take a walk in order to “score drugs.” Tamara admitted to

     having traded sexual acts for drugs in her past, but had stopped doing so because she

     was “deathly afraid” of contracting HIV. On the night in question, Tamara had her

     former boyfriend’s food stamp card which she planned to use to “swap for some drugs.”

¶3          Tamara recalled seeing a man “way back” behind her as she walked and that

     the man was walking “extremely fast.” Tamara noted, “every time I looked back he

     was just closer and closer. Like I felt like he was running up on me. . . . I stopped just

     to let him pass me[.]” According to Tamara, “[the man] spoke and I spoke back, . . . I

     remember him telling me I had a pretty smile . . . I don’t remember how the drug

     conversation came up, but he was like yeah, I know somebody.” The man told

     Tamara, “I can take you to get some, you know, don’t worry about it. Just follow me.”

     Tamara had followed strangers to find drugs before, and she was willing to “take that




            1 We use the parties’ stipulated pseudonyms: “Tamara” for the alleged victim in this

     case; and “Kesha” for another alleged victim of Defendant who testified for the State at trial.
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     gamble.” However, Tamara denied the man ever requested Tamara exchange sex for

     drugs.

¶4            Tamara followed the man, and the two turned down a street Tamara

     recognized because she “might have been down there to somebody’s house” in order

     to use drugs. Tamara continued to follow the man around a corner to an open area

     behind a building. When Tamara rounded the corner with the man, the man “turned

     on me real quick. . . . [H]e grabbed me by my neck. And I’m not going to say he

     squeezed me - - the life out of me where I couldn’t breathe, but he was squeezing

     pretty hard. I knew what was getting ready to happen.” The man told Tamara if she

     moved or screamed, “he’s going to f[---]ing kill me and he asked me was I going to be

     a good girl.” Tamara “never knew what fear was until that day” and that she “couldn’t

     cry.” The only thing she could say was “please don’t kill me[.]”

¶5            Then, the man started “feeling all over” her. At first, Tamara thought the man

     might be robbing her, but “everything he took out, he put back.” The man forced

     Tamara’s head down and made her perform oral sex on him. Then, the man pulled

     Tamara’s pants down, “got behind” her, and “had sex with [Tamara] from behind until

     he ejaculated.” Tamara also recalled the man “kissed me passionately like we was in

     a relationship” after the rape. Tamara stated the kiss made her sick to her stomach.

     The man never gave Tamara any drugs and Tamara had never promised to exchange

     sex for drugs. After the rape, the man ran away. Tamara then ran “over to the Burger
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     King” nearby where people told her there were police officers present. Tamara did so

     because she “knew he messed up when he ejaculated in me and it was no way I was

     going to let that get out of me.”

¶6         After midnight on 2 August 2011, Officer Zaira Scott, with the Fayetteville

     Police Department, was at a Burger King restaurant in downtown Fayetteville with

     Officer Scott’s training officer discussing a call to which the two had just responded.

     As Officer Scott and the training officer were talking, a woman approached the

     officers’ vehicle and told the officers she had just been “sexually assaulted.” The

     woman, Tamara, was “[u]pset,” “angry,” and “crying[.]” Tamara told Officer Scott

     that a man had been following her as Tamara walked down Person Street in

     downtown Fayetteville. Tamara told the officers the man “forced” her to walk behind

     a building and “choked her by putting his hand around [her] neck.” According to

     Tamara, the man threatened to kill her if she did not do “what he told her to do.”

     Tamara described her assailant as a bald man with “a little thin mustache.”

¶7         Tamara recounted the assault to the officers stating: “the black male pulled

     her pants down and penetrated her vagina with his penis.” After Tamara recounted

     the alleged assault to the officers, the officers searched her and “put her in the back

     of [the] patrol car[.]” The officers found no illegal contraband on Tamara. The officers

     took Tamara to the alleged crime scene where the officers collected a Pepsi bottle

     from which Tamara claimed her assailant had been drinking. The officers then took
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     Tamara to Cape Fear Valley Hospital for “medical assistance,” and she “agreed to do

     [a] sexual assault kit.”

¶8         After reviewing a report of the incident, Detective John Benazzi, who was at

     the time with the Fayetteville Police Department’s Special Victims Unit, contacted

     Tamara in order to investigate the alleged rape. According to Detective Benazzi,

     Tamara “reiterated exactly what she told” the two officers on the night of the incident.

     Tamara told Detective Benazzi her assailant was a “black male about 40 years old,

     bald head . . . and a mustache.” Detective Benazzi did not find a person matching

     that description when he searched a nearby bus station.             Detective Benazzi

     assembled a “photo array” of potential suspects based on Tamara’s description of her

     alleged assailant. Tamara “did not make an identification with anybody in that photo

     lineup.” When Detective Benazzi spoke with Tamara after the photo lineup, Tamara

     “was still very scared” and did not want to stay in Fayetteville any longer. The

     Fayetteville Police victim advocate obtained a bus ticket for Tamara so she could go

     to Winston-Salem. Eventually, Fayetteville Police “inactivated” Tamara’s case as

     “there were no further leads to follow up on[.]”

¶9         Several years later, in 2015, the Fayetteville Police Department received a

     federal grant to investigate the Department’s “backlog” of untested sexual assault

     kits. Fayetteville Police sent Tamara’s sexual assault kit to the Federal Bureau of

     Investigation (FBI) for testing in December 2016. The FBI’s testing returned a
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       potential match to a “Willie Mack” already in the national database. Based on this

       potential match, Detective Benazzi “started trying to reach out to [Tamara].”

       Detective Benazzi was able to find Tamara when Tamara appeared for a court date

       in Forsyth County in December 2017. When Detective Benazzi showed Tamara a

       picture of Defendant, Tamara stated: “Wow. Wow. That’s the man who raped me.”

¶ 10          Detective Benazzi obtained a search warrant to collect DNA evidence, in the

       form of buccal swabs, from Defendant. The FBI’s comparison of the DNA from

       Defendant’s buccal swabs indicated a match with the male DNA from Tamara’s

       sexual assault kit. Detective Benazzi interviewed Defendant as he was executing the

       search warrant to obtain Defendant’s buccal swabs. During the interview, which

       Detective Benazzi recorded, Defendant said he was in Oklahoma during 2011.2

¶ 11          A Cumberland County Grand Jury Indicted Defendant on charges of Second-

       Degree Rape, First-Degree Kidnapping, and Second-Degree Sexual Offense involving

       the alleged victim Tamara on 11 February 2019. The Grand Jury also indicted

       Defendant for attaining Habitual-Felon-Status. Defendant’s case came on for trial in

       Cumberland County Superior Court on 29 July 2019.

¶ 12          During her trial testimony, Tamara, pointed to Defendant in open court

       identifying him as her assailant. She described Defendant as a “[b]lack male, bald,



              2 The State played the recording of Detective Benazzi’s interview with Defendant for

       the jury during direct examination of Detective Benazzi.
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       thin mustache.” On cross examination, Defendant’s counsel asked Tamara: “Now,

       you were pretty pissed about the situation when there weren’t any drugs involved;

       weren’t you?” Tamara responded: “I was pretty pissed at the fact that I thought this

       was going to be an easy transaction and not a rape.”

¶ 13         Jade Gray, a supervisory biologist forensic examiner in the DNA casework unit

       at the FBI laboratory, testified for the State. After the trial court accepted Gray as a

       DNA expert, Gray testified her lab received evidence in the State’s case against

       Defendant in December of 2016. Gray’s team tested vaginal swabs from Tamara’s

       sexual assault kit, oral swabs from Defendant, and another sample from Tamara.

       The test of the vaginal swabs revealed “male and female DNA” and the DNA “unlike

       [Tamara’s] was consistent of having arisen from a single male individual[.]” Gray

       “selected [the male DNA] to be uploaded” into the Combined DNA Index System

       (CODIS) to see if the male DNA profile matched any profiles already in the database.

       Gray testified the male DNA tested and uploaded came back as a match in the

       database to a Willie Pearl Mack. On 29 June 2017, Gray sent a letter to Lieutenant

       Somerindyke, with the Fayetteville Police Department, informing him that the male

       DNA returned a CODIS match to a Willie Pearl Mack.

¶ 14         According to Gray, after testing the buccal swabs Detective Benazzi obtained

       from Defendant, the comparison between the male DNA profile from Tamara’s sexual

       assault kit and the profile from Defendant’s buccal swabs revealed that the male DNA
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       from the sexual assault kit was “660 sextillion times more likely” to have come from

       Defendant than from another contributor. This likelihood “fell into [Gray’s lab’s]

       highest level of support for identification.”

¶ 15         Prior to trial, the State had indicated its intent to introduce evidence of

       Defendant’s prior bad acts—including evidence of other rapes committed by

       Defendant—pursuant to Rule 404(b) of the North Carolina Rules of Evidence. In

       response, Defendant filed a Motion in Limine seeking exclusion of such evidence.

       After other witnesses testified, the trial court heard—outside the presence of the

       jury—both parties on the issue of evidence of Defendant’s prior alleged rapes. The

       State only had witnesses present who could testify about one of the alleged rapes

       involving a woman named Kesha. The trial court heard voir dire testimony from

       Kesha about a 2009 encounter with Defendant where Kesha alleged Defendant raped

       her. Kesha testified she lived in Fayetteville and, on the morning of 29 July 2009,

       she was supposed to be at court in downtown Fayetteville by 9 a.m. as a witness.

       Kesha further stated, after she missed the bus she planned to take to court, she tried

       to find “a ride” to get to court. Kesha said she needed a light for her cigarette and

       was planning to offer someone “a couple dollars” to give her ride to court. According

       to Kesha, a man in a burgundy “F150” stopped. Kesha “asked him for a light” and if

       she could give him the money to take her to the courthouse. When Kesha got into the

       truck, the man pointed a gun at her and told her he would “either blow [her] brains
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       off or kill [her]” if Kesha was not quiet. Kesha testified the man took her to a secluded

       area and forced her to have oral and vaginal intercourse several times. After the man

       had finished, Kesha stated she got out of the truck and sought help.

¶ 16         After voir dire, the trial court stated: “the [S]tate has indicated its intent to

       tender this evidence for the purpose of showing a plan, identity and/or modus

       operandi[.]” The trial court found “as a matter of law that the evidence is relevant.”

       The trial court further found:

                 The similarities between the cases the Court finds are as follows.
                 Both the alleged victims were African-American females. They
                 were both in Fayetteville . . . In both cases, there was the
                 occurrence of vaginal and oral -- forced vaginal and oral sex. Both
                 victims were on foot at the time of the assault. Both victims were
                 moved to secluded areas for facilitation of the assaults. There was
                 a threat to kill both victims and the alleged assailant, as to both
                 cases, was a stranger to the victim in each case.

       The trial court concluded, as a matter of law, the evidence was not admissible under

       Rule 404(b) to show common plan, scheme, or modus operandi. However, the trial

       court found that “identity is an issue.” The trial court found that Defendant stated

       to investigators in Tamara’s case that he “was not in Fayetteville in 2011.” The trial

       court further found, as to identity, there was “a substantial similarity in the two cases

       . . . as both victims in each case identified the assailant as a black male, bald headed

       with a mustache.” The trial court concluded it would allow the evidence of Kesha’s

       alleged rape for the purpose of proving the identity of the assailant in Tamara’s case
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       and give the jury a limiting instruction on that evidence. Defense counsel objected to

       the trial court’s rulings.

¶ 17          The State called Kesha to testify before the jury. Kesha testified that, on the

       morning of 29 July 2009, she was supposed to be a witness in court. Kesha said she

       needed a ride to the courthouse because she had missed the bus she was going to take

       to the courthouse. Kesha stated as she was walking to the courthouse shortly after 8

       a.m., “[a]n individual in a red truck stopped me and I asked for a light to my cigarette.

       Then I asked him could I get a ride to downtown to get to court because I didn’t want

       to be late.” Kesha said the man in the red truck offered to light her cigarette and that

       she offered the man “a few dollars” in gas money if he would give her a ride to court.

¶ 18          The man driving the truck agreed to take Kesha to court. Kesha described the

       man as “a Black male. He has a bald head and wears a mustache.” Kesha testified,

       as she got in the truck and tried to put on her seatbelt, the man “pulled [a gun] on

       [her].” Kesha said the man told her if she did not cooperate, the man would “blow my

       head off or kill me[.]” According to Kesha, the man took her down a secluded dirt

       road into a wooded area. Kesha stated the man: “pulled out his penis. He stuck it in

       my vagina, took it out my vagina, put it in my mouth, put it back in my vagina and

       put it back in my mouth and ejaculated.” Kesha said she did not consent to the sexual

       acts and that the man had not promised anything to Kesha in exchange for the sexual

       acts. Kesha testified she remembered: the truck was a “red or burgundy” F-150; there
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       were blankets and a bottle of baby oil in the truck; and there was a woman’s

       identification tag hanging on the rearview mirror and Kesha recounted the name on

       the tag. Then Kesha got out of the truck and used a stranger’s phone to call the police.

       The Record indicates defense counsel did not object to Kesha’s testimony when it was

       introduced at trial.

¶ 19          After the close of the State’s case-in-chief, Defendant did not offer any evidence

       in his defense. The trial court included in its jury instructions that the evidence of

       Kesha’s rape could only be considered for the purpose of proving Defendant’s identity

       in Tamara’s rape, if the jury believed the evidence. The jury found Defendant guilty

       of the Second-Degree Rape and Second-Degree Sexual Offense charges but acquitted

       Defendant on the First-Degree Kidnapping charge. The State elected not to proceed

       on the Habitual Felon Indictment.

¶ 20          During sentencing, the trial court asked the State: “What’s your position in

       regards to whether or not [Defendant’s prior Attempted First-Degree Rape

       conviction] makes him a recidivist for the purpose of sentencing in this case?” The

       State responded: “Yes, Your Honor. So I looked up the statute and the statute,

       specifically as it relates to that offense, just lists out -- it doesn’t specify the dates of

       offense.” The trial court sentenced Defendant to an active term of 146 to 185 months

       in prison on the Second-Degree Rape charge and found that “second-degree rape is a

       reportable offense as that term is defined in 14-208.6.” The trial court also sentenced
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       Defendant to an active term of 148 to 185 months on the Second-Degree Sexual

       Offense charge, to run consecutively with the Second-Degree Rape sentence. The

       trial court then stated:

                 In regards to AOC CR 615, show the Defendant has been
                 convicted of a sexually violent offense. That’s under 1(B), that the
                 Defendant has not been classified as a sexually violent predator.
                 The Defendant is a recidivist, paragraph three. The offense is an
                 aggravated offense, paragraph four. The offense did not involve
                 the physical, mental, or sexual abuse of a minor. The Defendant
                 will be required to register as a sex offender for the rest of his
                 natural life, the Court determines as a condition of the statute.

¶ 21         The trial court continued: “In regards to satellite-based monitoring, that

       requires a separate hearing, Madam D.A.” The State responded: “Yes, Your Honor.”

       When the trial court asked if the State wanted to “deal with that now[,]” the State

       declined stating, “they can deal with it at a separate hearing.” Defendant gave oral

       Notice of Appeal in open court.      The same day, the trial court entered written

       Judgments on the Second-Degree Rape and Second-Degree Sexual Offense

       convictions. The trial court also entered two separate Judicial Findings and Order

       for Sex Offenders—one for each conviction—requiring Defendant to register as a sex

       offender and to enroll in satellite-based monitoring, after Defendant’s release from

       prison, for the remainder of his life (Sex Offender Registration Orders).

                                               Issues
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¶ 22         The relevant issues on appeal are whether: (I) the trial court committed plain

       error by allowing evidence of Defendant’s prior bad acts to prove his identity as the

       perpetrator in the alleged offenses in this case; and (II) whether the trial court (A)

       erred in concluding the jury had convicted Defendant of a sexually violent offense—

       and, thus, a reportable conviction, pursuant to N.C. Gen. Stat. § 14-208.6(5)—and, if

       not, (B) whether the trial court erred by not holding a hearing regarding satellite-

       based monitoring pursuant to N.C. Gen. Stat. § 14-208.40A(a).

                                              Analysis

                                          I. Prior Bad Acts

¶ 23         Defendant contends the trial court erred in admitting evidence of the prior

       alleged rape of Kesha for the purpose of proving his identity in this case pursuant to

       N.C. R. Evid. 404(b). However, despite objecting following the voir dire of the witness,

       Defendant did not renew his objection to this evidence when the State actually sought

       to introduce it. Defendant thus concedes our review is limited to whether the trial

       court’s admission of the evidence constituted plain error. State v. Ray, 364 N.C. 272,

       277-78, 697 S.E.2d 319, 322 (2010). “Under the plain error rule, defendant must

       convince this Court not only that there was error, but that absent the error, the jury

       probably would have reached a different result.” State v. Jordan, 333 N.C. 431, 440,

       426 S.E.2d 692, 697 (1993) (citation omitted).
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¶ 24         “We review de novo the legal conclusion that the evidence is, or is not, within

       the coverage of Rule 404(b).” State v. Beckelheimer, 366 N.C. 127, 130, 726 S.E.2d

       156, 159 (2012). North Carolina Rule of Evidence 404(b) provides: “Evidence of other

       crimes, wrongs, or acts is not admissible to prove the character of a person in order

       to show that [the person] acted in conformity therewith.” N.C. Gen. Stat. § 8C-1, Rule

       404(b) (2019). However, such evidence may “be admissible for other purposes, such

       as proof of motive, opportunity, intent, preparation, plan, knowledge, identity, or

       absence of mistake . . . .” Id. “[B]efore evidence of other distinct crimes may be

       admitted under the [identity] exception, two requirements must be met. First, the

       identity of the defendant must be an issue in the case.” State v. Thomas, 310 N.C.

       369, 373, 312 S.E.2d 458, 460-61 (1984). “The second prong of the exception . . .

       requires that the circumstances of the two crimes be such as to tend to show that the

       crime charged and another offense were committed by the same person.” Id. (citation

       and quotation marks omitted).

¶ 25         “In a criminal case, the identity of the perpetrator of the crime charged is

       always a material fact.” State v. Jeter, 326 N.C. 457, 458, 389 S.E.2d 805, 806 (1990)

       (citation omitted). However, “identity is not always in issue.” State v. White, 101

       N.C. App. 593, 600, 401 S.E.2d 106, 110 (1991) (citing State v. Johnson, 317 N.C. 417,

       425, 347 S.E.2d 7, 12 (1986)). Evidence of prior bad acts is admissible to prove

       identity “where the accused is not definitely identified.” State v. Williams, 82 N.C.
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       App. 281, 284, 346 S.E.2d 315, 316 (1986) (citation omitted). “[U]nless the defendant

       presents alibi evidence, evidence of other crimes to show identity, either directly or

       indirectly (common plan), should not be admitted[.]” Id. (quoting State v. Streath, 73

       N.C. App. 546, 550, 327 S.E.2d 240, 242, disc. rev. denied, 313 N.C. 513, 329 S.E.2d

       402 (1985)).

¶ 26         In this case, while Defendant’s identity was a material fact, it was not

       necessarily in issue. Defendant presented no evidence in his own defense, and did

       not claim an alibi at trial. The only evidence possibly giving rise to an alibi defense

       was a recording of an interview introduced by the State in which Defendant initially

       claimed he was out-of-state for the entire year of 2011. Here, however, evidence of

       the rape of Kesha occurring in 2009 is, at best, tangential to proving Defendant was,

       in fact, in North Carolina approximately two years later at the time of the rape in

       this case.     Moreover, the circumstances of the two rapes, separated in time by

       approximately two years, while both horrific, are not so particularly similar as to

       necessarily constitute proof that the same individual committed both using a similar

       modus operandi. See State v. Corum, 176 N.C. App. 150, 156-57, 625 S.E.2d 889, 893
       (2006) (“[T]here must be shown some unusual facts present in both crimes or

       particularly similar acts which would indicate that the same person committed both

       crimes.” (citation and quotation marks omitted)).
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¶ 27         Presuming, without deciding, however, that the admission of this 404(b)

       evidence constituted error, the second prong of our plain error analysis requires us to

       determine if, absent this error, the jury probably would have reached a different

       result. Jordan, 333 N.C. at 440, 426 S.E.2d at 697. In light of the overwhelming

       evidence of Defendant’s identity and guilt presented in this case, Defendant has not

       shown the jury would have reached a different result.

¶ 28         The State presented DNA evidence showing 660 sextillion-to-one that

       Defendant’s, and not someone else’s, DNA was in Tamara’s sexual assault kit.

       Defendant does not challenge this evidence on appeal. Further, Tamara affirmatively

       identified Defendant as her assailant and gave detailed testimony of the incident

       with Defendant. Tamara testified Defendant choked her and threatened to kill her

       if she did not acquiesce to his demand for intercourse. On cross examination, Tamara

       did not waver when asked if Defendant might have offered her something in exchange

       for sex—insinuating the encounter was consensual. In fact, she repeatedly stated she

       only followed Defendant because he said he knew where to find drugs. In light of this

       evidence, the jury would probably not have reached a different verdict absent the

       evidence of the prior rape. See State v. Walker, 316 N.C. 33, 40, 340 S.E.2d 80, 84
       (1986) (“[T]he overwhelming evidence against the defendant prevented the error

       complained of from rising to the level of ‘plain error[.]’ ”). Consequently, the trial

       court did not commit plain error by admitting evidence of the prior alleged rape.
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                      II. Reportable Offenses and Satellite-Based Monitoring

¶ 29         Defendant also argues the trial court erred by finding his convictions under

       former N.C. Gen. Stat. §§ 14-27.3 and 14-27.5 were “sexually violent offenses”

       pursuant to N.C. Gen. Stat. § 14-208.6(5). As such, according to Defendant, his

       convictions were not reportable convictions under N.C. Gen. Stat. § 14-208.6(4), and

       the trial court could not order Defendant to register as a sex offender. Moreover,

       Defendant argues the trial court did not conduct a separate hearing regarding

       satellite-based monitoring and, thus, could not order Defendant to enroll in satellite-

       based monitoring.

¶ 30         As a threshold matter, Defendant did not file written notice of appeal from the

       trial court’s Orders. Rule 3 of our Rules of Appellate Procedure governs notices of

       appeal from the Sex Offender Registration Orders. State v. Brooks, 204 N.C. App.

       193, 194-95, 693 S.E.2d 204, 206 (2010). Rule 3 requires parties to file written notice

       of appeal thirty days after the entry of such a judgment or order. N.C.R. App. P. 3(a),

       (c) (2021). Therefore, giving oral notice of appeal in open court is “insufficient to

       confer jurisdiction on this Court.” Brooks, 204 N.C. App. at 194-95, 693 S.E.2d at

       206. Recognizing his trial counsel only gave oral Notice of Appeal from the criminal

       Judgments and did not file written notice of appeal from the Sex Offender

       Registration Orders, Defendant has filed a Petition for Writ of Certiorari with this

       Court to grant review of the Sex Offender Registration Orders.
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¶ 31         Rule 21 of our Rules of Appellate Procedure provides: “[t]he writ of certiorari

       may be issued in appropriate circumstances by either appellate court to permit review

       of the judgments and orders of trial tribunals when the right to prosecute an appeal

       has been lost by failure to take timely action[.]” N.C.R. App. P. 21(a)(1) (2021); see

       also N.C. Gen. Stat. § 7A-32(c) (2019). In our discretion, we allow Defendant’s

       Petition and review the merits of his arguments. See State v. Green, 229 N.C. App.

       121, 128, 746 S.E.2d 457, 464 (2013) (granting certiorari where “[d]efendant conceded

       that although he properly gave oral notice of appeal in open court, he failed to file

       written notice of appeal” from the trial court’s sex offender order).

                 A. Reportable Convictions

¶ 32         Here, the trial court found Defendant had been convicted of sexually violent

       offenses and, thus, reportable convictions. The trial court also found Defendant was

       a recidivist and that the offenses were aggravated offenses. Accordingly, the trial

       court ordered Defendant to register as a sex offender for life. A trial court’s statutory

       interpretation in sex offender registration cases is a question of law we review de

       novo. State v. Davison, 201 N.C. App. 354, 357, 689 S.E.2d 510, 513 (2009) (citations

       omitted). “In matters of statutory interpretation . . . ‘[w]hen the language of a statute

       is clear and without ambiguity, it is the duty of this Court to give effect to the plain

       meaning of the statute, and judicial construction of legislative intent is not required.’

       ” Id. (quoting State v. Abshire, 363 N.C. 322, 329-30, 677 S.E.2d 444, 450 (2009)).
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                                          Opinion of the Court



¶ 33         “A person who is a State resident and who has a reportable conviction shall be

       required to maintain registration with the sheriff of the county where the person

       resides.” N.C. Gen. Stat. § 14-208.7(a) (2019). A “reportable conviction” is any final

       conviction: “for an offense against a minor”; for “a sexually violent offense,”; “in

       another state of an offense, which if committed in this State, is substantially similar

       to an offense against a minor or a sexually violent offense as defined by this section”;

       or “in a federal jurisdiction (including court martial) of an offense, which is

       substantially similar to an offense against a minor or a sexually violent offense as

       defined by this section.” N.C. Gen. Stat. § 14-208.6(4)(a)-(c) (2019).

¶ 34         The trial court found Defendant’s convictions for former N.C. Gen. Stat. §§ 14-

       27.3 and 14-27.5 were sexually violent offenses. In 2015, the General Assembly

       repealed and recodified both N.C. Gen. Stat. §§ 14-27.3 (second-degree rape) and 14-

       27.5 (second-degree sexual offense). An Act to Reorganize, Rename, and Renumber

       Various Sexual Offenses . . . , S.L. 2015-181, 2015 N.C. Sess. Laws 460 (the Act). The

       General Assembly also changed the definition of “sexually violent offense.” N.C. Gen.

       Stat. § 14-208.6(5) now defines a sexually violent offense as:

                 A violation of former G.S. 14-27.6 (attempted rape or sexual
                 offense), G.S. 14-27.21 (first-degree forcible rape), G.S. 14-27.22
                 (second-degree forcible rape), G.S. 14-27.23 (statutory rape of a
                 child by an adult), G.S. 14-27.24 (first-degree statutory rape), G.S.
                 14-27.25(a) (statutory rape of a person who is 15 years of age or
                 younger and where the defendant is at least six years older), G.S.
                 14-27.26 (first-degree forcible sexual offense), G.S. 14-27.27
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                (second-degree forcible sexual offense), G.S. 14-27.28 (statutory
                sexual offense with a child by an adult), G.S. 14-27.29 (first-
                degree statutory sexual offense), G.S. 14-27.30(a) (statutory
                sexual offense with a person who is 15 years of age or younger and
                where the defendant is at least six years older), G.S. 14-27.31
                (sexual activity by a substitute parent or custodian), G.S. 14-
                27.32 (sexual activity with a student), G.S. 14-27.33 (sexual
                battery), G.S. 14-43.11 (human trafficking) if (i) the offense is
                committed against a minor who is less than 18 years of age or (ii)
                the offense is committed against any person with the intent that
                they be held in sexual servitude, G.S. 14-43.13 (subjecting or
                maintaining a person for sexual servitude), G.S. 14-178 (incest
                between near relatives), G.S. 14-190.6 (employing or permitting
                minor to assist in offenses against public morality and decency),
                G.S. 14-190.9(a1) (felonious indecent exposure), G.S. 14-190.16
                (first degree sexual exploitation of a minor), G.S. 14-190.17
                (second degree sexual exploitation of a minor), G.S. 14-190.17A
                (third degree sexual exploitation of a minor), G.S. 14-202.1
                (taking indecent liberties with children), G.S. 14-202.3
                (Solicitation of child by computer or certain other electronic
                devices to commit an unlawful sex act), G.S. 14-202.4(a) (taking
                indecent liberties with a student), G.S. 14-205.2(c) or (d)
                (patronizing a prostitute who is a minor or has a mental
                disability), G.S. 14-205.3(b) (promoting prostitution of a minor or
                a person who has a mental disability), G.S. 14-318.4(a1) (parent
                or caretaker commit or permit act of prostitution with or by a
                juvenile), or G.S. 14-318.4(a2) (commission or allowing of sexual
                act upon a juvenile by parent or guardian). The term also
                includes the following: a solicitation or conspiracy to commit any
                of these offenses; aiding and abetting any of these offenses.

       N.C. Gen. Stat. § 14-208.6(5) (2019).

¶ 35         Defendant is correct that former N.C. Gen. Stat. §§ 14-27.3 and 14-27.5 are no

       longer expressly listed as sexually violent offenses under the current version of N.C.

       Gen. Stat. § 14-208.6(5). For its part, the State fails to provide any compelling
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                                            Opinion of the Court



       argument to the contrary, instead relying on statutory interpretations of N.C. Gen.

       Stat. § 14-208.6(5) and related arguments that would result only in a misreading and

       misapplication of the express statutory language—if not just ignoring it altogether.3

¶ 36          Our own analysis, however, reveals the Act that recodified N.C. Gen. Stat. §§

       14-27.3 and 14-27.5 and amended N.C. Gen. Stat. § 14-208.6(5) also included an

       “effective date” clause stating:

                 This act becomes effective December 1, 2015, and applies to
                 offenses committed on or after that date. Prosecutions for
                 offenses committed before the effective date of this act are not
                 abated or affected by this act, and the statutes that would be
                 applicable but for this act remain applicable to those prosecutions.

       S.L. 2015-181, § 48, 2015 N.C. Sess. Laws 460, 472 (emphasis added).

¶ 37          Defendant was prosecuted and convicted under the former statutes for acts he

       committed in 2011, prior to the effective date of the amended N.C. Gen. Stat. § 14-

       208.6(5). According to the Act’s plain language, the prior version of N.C. Gen. Stat. §


              3 For instance, the State argues statutory language, permitting a trial court to decide

       whether an offense committed under the law of another sovereign—i.e. another state or the
       federal government—is substantially similar so as to qualify as a reportable offense, permits
       our courts to ignore the exclusive list of North Carolina statutes provided by the General
       Assembly and simply judicially engraft into the statute other offenses under North Carolina
       law the General Assembly could have listed, but did not. The State also argues “common
       sense” allows us to ignore the statutory language and decree Defendant’s convictions should
       be reportable offenses. Finally, the State also speculates had Defendant been charged and
       tried of crimes that are listed in the current statute, a jury would have convicted Defendant
       of those offenses, too; and, thus, we should conclude the offenses for which Defendant was, in
       fact, convicted, should be considered reportable offenses. Each of these arguments is
       untenable.
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       14-208.6(5)—in which N.C. Gen. Stat. §§ 14-27.3 and 14-27.5 were listed—which

       would have applied, but for the 2015 amendment, still applies to prosecutions and

       convictions under those former offenses.          Therefore, in this case, Defendant’s

       convictions under N.C. Gen. Stat. §§ 14-27.3 and 14-27.5 were sexually violent

       offenses and were reportable convictions for the purpose of requiring Defendant to

       register as a sex offender. 4 See State v. Dye, 254 N.C. App. 161, 170 n. 3, 802 S.E.2d

       737, 743 n. 3 (2017) (“Sexually violent offense is, in turn, defined as including, inter

       alia, ‘a violation of . . . G.S. 14-27.25(a).’ N.C. Gen. Stat. § 14-208.6(5). N.C.G.S. §

       14-27.7A, of which Defendant was convicted, was later recodified at N.C. Gen. Stat.

       § 14-27.25(a) in 2015. See 2015 N.C. Sess. Laws ch. 181 § 7(a). Therefore, Defendant’s

       conviction qualified as a reportable conviction.”). Consequently, the trial court did

       not err in ordering Defendant to register as a sex offender.

                  B. Satellite-Based Monitoring

¶ 38          Finally, Defendant argues the trial court could not impose satellite-based

       monitoring without holding a hearing on the issue. Whether a trial court has properly

       adhered to the procedures for imposing satellite-based monitoring under N.C. Gen.




              4  For reference purposes, the University of North Carolina School of Government has
       published a flow-chart which assists in identifying crimes which may constitute reportable
       convictions. Jamie Markham, Revised Sex Offender Flow Chart (July 2017 Edition),
       https://nccriminallaw.sog.unc.edu/revised-sex-offender-flow-chart-july-2017-edition/   (last
       visited May 3, 2021).
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                                          Opinion of the Court



       Stat. § 14-208.40A is a question of law we review de novo. Davison, 201 N.C. App. at

       357-61, 689 S.E.2d at 513-15.

¶ 39         N.C. Gen. Stat. § 14-208.40A provides:

                (a) When an offender is convicted of a reportable conviction as
                defined by G.S. 14-208.6(4), during the sentencing phase, the
                district attorney shall present to the court any evidence that (i)
                the offender has been classified as a sexually violent predator
                pursuant to G.S. 14-208.20, (ii) the offender is a recidivist, (iii) the
                conviction offense was an aggravated offense, (iv) the conviction
                offense was a violation of G.S. 14-27.23 or G.S. 14-27.28, or (v) the
                offense involved the physical, mental, or sexual abuse of a minor.
                The district attorney shall have no discretion to withhold any
                evidence required to be submitted to the court pursuant to this
                subsection.

                The offender shall be allowed to present to the court any evidence
                that the district attorney’s evidence is not correct.

                (b) After receipt of the evidence from the parties, the court shall
                determine whether the offender’s conviction places the offender
                in one of the categories described in G.S. 14-208.40(a), and if so,
                shall make a finding of fact of that determination, specifying
                whether (i) the offender has been classified as a sexually violent
                predator pursuant to G.S. 14-208.20, (ii) the offender is a
                recidivist, (iii) the conviction offense was an aggravated offense,
                (iv) the conviction offense was a violation of G.S. 14-27.23 or G.S.
                14-27.28, or (v) the offense involved the physical, mental, or
                sexual abuse of a minor.

                (c) If the court finds that the offender has been classified as a
                sexually violent predator, is a recidivist, has committed an
                aggravated offense, or was convicted of G.S. 14-27.23 or G.S. 14-
                27.28, the court shall order the offender to enroll in a satellite-
                based monitoring program for life.

       N.C. Gen. Stat. § 14-208.40A(a)-(c) (2019) (emphasis added).
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                                            Opinion of the Court



¶ 40          Thus, the statute requires the trial court, when considering imposing satellite-

       based monitoring during the sentencing phase, to conduct a hearing where: the State

       shall present evidence to the trial court regarding the defendant’s eligibility; the

       defendant shall be permitted to rebut that evidence; and, after the trial court receives

       the evidence, the trial court shall determine if the defendant is eligible for monitoring

       and, if so, shall order the defendant to enroll in such monitoring.

¶ 41          Here, the trial court found—after only eliciting evidence of recidivism from the

       State and for sentencing purposes:

                 In regards to AOC CR 615, show the Defendant has been
                 convicted of a sexually violent offense. That’s under 1(B), that the
                 Defendant has not been classified as a sexually violent predator.
                 The Defendant is a recidivist, paragraph three. The offense is an
                 aggravated offense, paragraph four. The offense did not involve
                 the physical, mental, or sexual abuse of a minor. The Defendant
                 will be required to register as a sex offender for the rest of his
                 natural life, the Court determines as a condition of the statute.

       However, the trial court acknowledged satellite-based monitoring required “a

       separate hearing.” The State elected to not proceed with that hearing during the

       sentencing phase stating: “they can deal with [satellite-based monitoring] at a

       separate hearing.”5 As such, the State presented no evidence as to Defendant’s



              5 Such a hearing would be governed by N.C. Gen. Stat. § 14-208.40B.      See N.C. Gen.
       Stat. § 14-208.40B(a)-(c) (2019) (“When an offender is convicted of a reportable conviction as
       defined by G.S. 14-208.6(4), and there has been no determination by a court on whether the
       offender shall be required to enroll in satellite-based monitoring, the Division of Adult
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                                            Opinion of the Court



       eligibility regarding monitoring, and Defendant was not afforded the opportunity to

       present evidence contradicting the State’s evidence. Thus, the trial court did not

       conduct a hearing on the issue, pursuant to N.C. Gen. Stat. § 14-208.40A, and erred

       by ordering Defendant to enroll in satellite-based monitoring prior to holding the

       required hearing on the issue. See State v. Sheridan, 263 N.C. App. 697, 708, 824

       S.E.2d 146, 154 (2019) (“In this case, no evidence was presented prior to or to support

       the trial court’s determination that Defendant would be subject to SBM for the

       remainder of his life. We vacate the order requiring Defendant to enroll in SBM for

       the remainder of his life, and remand for proper analysis and determination under

       N.C. Gen. Stat. § 14-208.40A.”).       Consequently, we vacate the trial court’s Sex

       Offender Registration Orders and remand the issue of satellite-based monitoring for

       proper analysis pursuant to N.C. Gen. Stat. § 14-208.40A.

                                              Conclusion

¶ 42          Accordingly, for the foregoing reasons, (I) there was no plain error in

       Defendant’s trial and we affirm the Judgments entered upon the jury verdicts; and

       (II) (A) the trial court properly concluded Defendant’s convictions in this case were

       sexually violent offenses and, thus, reportable offenses; however, (B) the trial court

       erred in ordering Defendant enroll in satellite-based monitoring without holding a



       Correction . . . shall make an initial determination” and the trial court of the county where
       the offender lives shall conduct a hearing as to the offender’s eligibility.).
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                               Opinion of the Court



hearing on the issue, and we vacate the Sex Offender Registration Orders and

remand this matter to the trial court for further proceedings on satellite-based

monitoring.

      NO PLAIN ERROR AT TRIAL; AFFIRMED IN PART; VACATED IN PART

      AND REMANDED.

      Judges DILLON and GRIFFIN concur.
